Case 1:18-cr-00423-GBD Document 72

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA, :
-against- |

FATIMA WOODS, |
Defendant. .

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GEORGE B. DANIELS, United States District Judge:

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The conference scheduled for January 13, 2021 is adjourned to March 24, 2021 at 10:00

am. Time is excluded in the interest of justice pursuant to the Speedy Trial Act, 18 U.S.C. §

3161(h)(7)(A), until that time.

Dated: New York, New York
January 12, 2021

SO ORDERED.

Qniug Le A D Ti ret Ye

 

CPR: B. DANIELS
itedStates District Judge

 

 
